  

4117-cr-20311-NGE-DRG ECF No. 41, PagelD.121 Filed 03/13/21

UNITED STATES DISTRICT CouR

 
 

 

 

EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION

 

 

UNITED STATES,

 

Plaintif £ No. | 1-203

—
—_

 

 

unds

 

-\N- Won, Nancu G. Edm
GLENVTILL, °

 

Defendant

 

 

MotioN FoR SENTENCE Mopiricl

N TION

 

UNDER 180.5.C. section 3582(QU)(

A) Ci)

 

AND REQUEST FoR APPOINTMENT OF @%

UNSEL

 

 

 

etendant, Glen Till, moves the Cou

CH

 

for an_ocder Feducina his Sentence due

to

 

his Vulnecabilidy tothe CoNID-19 vit

US,

 

the BOP s cefusal to treat his seriou

5

 

Medical condition, and the conditions d

if

 

his confinement which vielase the Eighth

 

Amendment's prohibition against Cruel

and

 

(unusual punishment.

 

Since Mr. Dils Confinement in the cu

iStody

 

of the bOf at FC! Cumberland, the COV!

D -19

 

witus Was inSected \alf of the PFISON'S ine

nate

 

population, Vhe \asi wave oc outbreak

 

 

4

 

 

 

 
Case 2:

 

1 7-cr-20311-NGE-DRG ECF No. 41, PagelD.122 Filed 03/13/21 Page 2 pf9

fe a ne fae ee ee rene ete oe een

 

Causing infections amongst sixty. of the

 

 

inmates in his }28—man ~ housing unit

 

‘|he Prison's medical department does b+

 

segregate Covi D- ; positive prisoners fram

 

healthy INMATES. \ny SBnuary, whea half ot the

 

prisoners 1 Me, Jai S housing unit contracted

 

the Covid-14 Vitus , the prison Statl refused

 

To Segregate these sick prisoners From tha est

 

of the housing unit inmates who were health y

 

including Mr Till, This policy places Mr trl)

 

. ~ 1 ‘ I
ad Setyous risk for Severe Niness oC death

 

according 4o the CDC Bs he is severely

 

obese (“BM1 > 40) and has other

 

uUnder)uing medical Conditions +halt

 

the Cpe iKdicates tender him vulnerable

 

+o COVID -)9 (see WwW, CDC. gov /Coponavirus)

 

\n addition, Mc. Till has a serious

 

Medical need for treatment jhat the BoP

 

medical staff has tadicated to Wim that

 

they cannot Jceat” aad will need te b.

[NS

 

taken care of “when Chel returns home from

 

prisph.” Me, \a\\ Wishes +o submit evidence

 

a — -
o% his above medica) Condition viz his

 

appointed Counse|] — should the GCour4 gcant

 

is request fac Counse! — and \ia sea)!

 

 

a

 

 

 

 

 
Case 2

17-cr-20311-NGE-DRG ECF No. 41, PagelD.123 Filed 03/13/21 Page 3

 

Mc. Vil) made a request to the warden of

 

his Prison Soe Compassionate release and

 

Zp dz ays hav @ lapsed since his feques

+

 

was fade, Exhibit A is a copy of

the

 

(equest Mr. Till wade +o his warden on

 

\Z- G- 2ozo foe Compassionate felease.

 

Due to Mr. Jill's ack of leq a |

 

SK iF INdigeNnce, and the emerg cacy

 

Nature of} “the instant Moon, “hem humbly

 

ae jhat the _Guct Bepoins Nery

 

Icounse\ +p submit ~ memorandum of

 

lon the merits of his compassionate release

 

petition , Collect and submit} relevant

 

Joc uments 0 Support , and to obtain Ihis

 

medical fecords foc sealed £3) hng with the

 

Court.

 

 

Re spect bully submitted,

 

yp fe

 

 

J

 

Prisonec #555964-039

 

FC) Cumberlan

d

 

PO. Box 000

 

Cumberland,

} 2150]

 

 

 

 

 

 

 
Case 2

 

L7-cr-20311-NGE-DRG ECF No. 41, PagelD.124 Filed 03/13/21 Page 4

of 9

 

 

Purowant to 28 U.S.C. section 1THG,

 

 

a TS

 

 

declare pa der penalty of Pecyury tha
tine Toreqoing 1s \rue and correct,

 

 

 

Executed this \3th day of Mac

ch

 

202| at Cumberland , Maryland.

 

 

I fen

 

te ( A

 

GLENWTILL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case

4

 

2:17-cr-20311-NGE-DRG ECF No. 41, PagelD.125 Filed 03/13/21 Page 5

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

Case 2:17-cr-20311-NGE-DRG ECF No. 41, PagelD.126 Filed 03/13/21 Page 6 of 9

BP-A148.055 INMATE REQUEST TO STAFF cprrM
SEP 98
U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS

aS

 

TO: (Name and Title of Staff Member) DATE: . /
WARDEN WEBER (2-4 - 2020

FROM: REGISTER NO.:

GLEN TILL 55564 -034

WORK ASSIGNMENT: UNIT:
NIA

SUBJECT: (Briefly state. your question or concern and the solution you are requesting. Continue on

back, if necessary. Your failure to be specific may result in no action being taken. If! necessary,

you will be interviewed in order to successfully respond to your request.

VM AEQVESTING RELEASE  (CComPASSIONATE RELEASE) UNDER 18 U.S.C.
SECTION 3532 COCD LAO) Due To MY VUCNEQABILITY To Covid-19 AS
EVIDEWCep BY MY MEDICAL RECORDS, MY Home PLAN 1S To ResiDE WITH

MY GIRLFRIEND AT 12753 PAYTON, DETROIT, MCHIGAN. IF ANY Addi TOV AL
INFORMINTION 15 NECESSARY, PLEASE LET ME KNOW, |

 

 

 

 

 

 

 

i
T
4
!

 

 

(Do not write below this line)

DISPOSITION:

Oe

 

Signature Staff Member Date

 

 

Record Copy - File; Copy - Inmate
(This form may be replicated via WP ) This form replaces BP-148.070 dated Oct 86
and BP-S148.070 APR 94

FILE IN SECTION 6 UNLESS APPROPRIATE FOR PRIVACY FOLDER SECT ION
Case 2:17-cr-20311-NGE-DRG ECF No. 41, PagelD.127 Filed 03/13/21 Page 7 of 9

 

Re

 

Any of the SPO products listed below MUST have the Unit Team's Stamp
and/or Signature approving the purchase.
Forms that are not COMPLETELY filled out properly WILL NOT be processed
for purchase.
All form denials will be posted at the shopping window. Reason regarding any
denial will be given upon request, after ID Verification. :

** MONEY MUST BE AVAILABLE IN ACCOUNT BEFORE SUBMISSION **
Inmate Name : Reg. Number:

Housing Unit: Date MM/DD/YY:

 

 

 

ITEM BRAND MODEL SIZE STAMP / SIGNATURE

 

Athletic Shoe

 

 

Specialty Shoe

 

 

Specialty Boot

 

 

 

Religious Headwear

 

 

Radio saver . N / A

 

 

Mp3 Player N / A

 

 

Watch N / A

 

 

Headphones N / A

 

 

 

Other

 

 

 

 

 

 

 

 
 

CTIONAL INSTITUT

56-034.

AL CORRE

TtLL ¥>°

GLEN
UFE

 

loN

DER

 

  

hi

belifelid

 
   

Case 2:17-cr-20311-NGE-DRG ECF No. 41, PagelD.129° Filed 0

my 0
j a

     

 

 

 

 

 
